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RECEIVED Sir py CM _. |42—pages
MAR 17 2014 date initials No.

| Programs Depatiment «UNITED STATES DISTRICT COURT

1ST District of Louisiana

Toons LIPERM APPLICATION TO PROCEED
Plant? WITHOUT PREPAYMENT OF
FEES AND AFFIDAVIT

ye

1). Pur L be Cain Warten CASE NUMBER:

Defendant
i, tena LeBeau , declare that 1 am the (check tie appropriate box)
| | Pettioner/plamafmevat Ld other

in the sbove-cntitied proceeding: that in support of my request to proceed without prepaymient ef fees or costs
under 28 USC § 1915 I declare that J am unable to pay the costs of these proceedings and that | am entilied tothe
relic sought i in nthe eormp lami/petition/motion.

aay

in support ef dis application, 1 answer the following questions under penalty of perjury:
i. Are you currently incarcerated? dP No, go te Part 2)

If Yes,” state the place of your incarceration Fpl i fale: PR LSoA! Are

you employedat the metitution? | io _.. De-you receive atiy avinesn from the institution? _A/O__

ee,
7 208

Have the institution certify the Statement of Account portion of this affidavit or attach a certilied
ledger sheet from the institution(s) of your incarceration showing af least the past six months’

transactions
Are you currently employed? [ ] Yes L-] No

a ifthe answer is “Yes.” state the amount of your take-iome salary or wages and pay period and
give the name and address of your anployer:

bot

b. If the answer if “No,” state the date of your last employment, the anount of your take-home
salary or wages and pay period and the name and address of your last employer.

hase
:

ln the past 12 twelve months have you received any money from any of the following sources?

Yes i LX No

a Business, profi ession or olher eelf-emplovia ent [J é
b. Rent payments, interest or dividends [ ] Yes ler No
©. Pensions, annuities or Hie isuraice payments Pod Yes [No
d Disability or workers compensation payments i | Yes [et No
&. Gills of inheritance [ ] Yes [ep-6
£ i ] Yes [ 7 Ne

AnY FENDE SOUrces
DERED FOR FILING

MAR 17 2014 i

U.S. DISTRICT COURT
Easter District of Louisiana
Deputy Clerk

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If the answer to any of thé above is “Yes”? describe each source of money and state the amount received
and what you expect you will contume to receive.

4. Do you have any cash or checking or savings accounts? [rv] Yes { 7 Ne

Ii “Yes? stale the total amount O
5. Do you own any real estate, docks, bonds, securities, other fmancial instruments, on or any
other thing of value? | |. ¥es [x

if “Yes." describe the property and state ile value.

6. List the persons who are dependent on you for support, state your relationship to each person and
indicate ¢ how much vou contribute to their support.

Belatonsiip

Contributed for Support

1 declare under penalty of perjury that the above mflormation is true and correct.

a-yo- 14 homarn deem

einai bir niente ecient dana Nianong i

Date Signature of Applicant

is
Case. 2:14-cv-00823-JTM-MBN.....Document.2 ..... Filed.03/17/14..... Page 5 .0f 6......

STATEMENT OF ACCOUNT |
(Certified Insitutional or

Lhereby certiy that this inmate, Thome: 5 LEALAU :
account balance of $ 3. Sh _at the Low re es Avy __ mettation, | funher
is $ 1.69

Die erage mor dy de pocds are io be detowained by oddine Uw depots mode Bre a even month wid dividing t fhe lobe

besa present inmate

senity thal the average monthiy deposits for the preceding six mo

inf ihe sanity tof depauts mice airine thet montis Thigas pected for each of tee ox months Ne aeerage fran pes Ce

dio monliie we to be added logether wel Use baad ig diced by st.

{ further certify dhat the everage monthly balance for the prior six oe is § 1 7l

bg
fn

we overage morally oglonce (3 1a be determined by andy, eacn ca 3 balance fora given mouth and dividing Unt total by

the ween ber of ca aria month. Tis is ia be reaped for ego @ ae ua price moths, The 2D
morihe ant bbe pied logeteer aed the beta is to oe divided by vod.

fron een af ie a

i asians voaee a in eM Roms

secant spelen ani

Date Certified Authorized Ulficer of Institution

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STATEMENT OF ACCOUNT —
(Certified Institutional Equivalent)
| eben , inmate number _ 10% 525 oe

the Plaintiff herein has the following sums of money on account to his credit at LOUISIANA STATE PENITENTIARY _,

| hereby certify that

Angola, Louisiana 70712, the institution where he is confined:

Prison Drawing Account: $ oO = -

A. Cash $
B. Bonds _$ ee
Efurther certify that the average monthly deposits for the preceding six months is s (60) = :

(The average monthly deposits are to be determined by adding the deposits made during a given month and dividing that total by
the number of deposits made during that month. This is repeated for each of the six months. The average from each of the six months
are to be added together and the total is to be divided by six) a :

| further certify that the average monthly balance for the preceding six months is § | é | :

(The average monthly balanced is to be determined by adding each days balance fora given month and dividing that total by
the number of days in that month. This is to be repeated for each of the six months. The balance of the six months are to be added

together and the total is to be divided by six).

rate verifies 7 Gnature of kuthorized Officer of inst
DATE

MAR 1.0 2014

CERTIFIED

